(Official Form 1) (12/02)
  FORM B1
                               United States Bankruptcy Court                                                                                Voluntary Petition
                               Western District of Washington
                                            Seattle
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse)(Last, First, Middle):
  Epstein, Eric Sean                                                                            Epstein, Colleen Andrea
 All Other Names used by the Debtor in the last 6 years                                        All Other Names used by the Joint Debtor in the last 6 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):
                                                                                                 Colleen Emery
 Soc. Sec./Tax I.D. No. (if more than one, state all):                                         Soc. Sec./Tax I.D. No. (if more than one, state all):
  XXX-XX-XXXX                                                                                   XXX-XX-XXXX
 Street Address of Debtor (No. & Street, City, State & Zip Code):                              Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
  6914 21st Drive NE                                                                            6914 21st Drive NE
  Marysville WA 98271                                                                           Marysville WA 98271
 County of Residence or of the                                                                 County of Residence or of the
 Principal Place of Business: Snohomish                                                        Principal Place of Business:                 Snohomish
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):


 Location of Principal Assets of Business Debtor
 (if different from street address above):

                                             Information Regarding the Debtor (Check the Applicable Boxes)
 Venue (Check any applicable box)
 ;   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date

 
     of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                 Type of Debtor (Check all boxes that apply)
                                          Railroad
                                                                                                            Chapter or Section of Bankruptcy Code Under Which
 ; Individual(s)
  Corporation                            Stockbroker
                                                                                                                    the Petition is Filed (Check one box)

  Partnership                            Commodity Broker                                    ; Chapter 7                    Chapter 11                             Chapter 13
  Other                                  Clearing Bank                                        Chapter                      Chapter 12
                                                                                                Sec. 304 - Case ancillary to foreign proceeding
                                                                                                         9



 ; Consumer/Non-Business                  Business
                    Nature of Debts (Check one box)
                                                                                               ; Full Filing Fee Attached
                                                                                                                           Filing Fee (Check one box)

     Chapter 11 Small Business (Check all boxes that apply)                                     Filing Fee to be paid in installments (Applicable to individuals only)
  Debtor is a small business as defined in 11 U.S.C. § 101                                      Must attach signed application for the court's consideration certifying

  Debtor is and elects to be considered a small business under                                       that the debtor is unable to pay fee except in installments.
                                                                                                      Rule 1006(b). See Official Form No. 3.
     11 U.S.C. § 1121(e) (Optional)

 Statistical/Administrative Information (Estimates only)
 
                                                                                                                                               THIS SPACE IS FOR COURT USE ONLY

 ;
     Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
     be no funds available for distribution to unsecured creditors.


                                                             ;                                                
                                               1-15          16-49         50-99     100-199    200-999       1000-over
 Estimated Number of Creditors

 Estimated Assets
       $0 to     $50,001 to     $100,001 to    $500,001 to           $1,000,001 to   $10,000,001 to       $50,000,001 to      More than

                                  ;                                                                                        
      $50,000     $100,000       $500,000       $1 million            $10 million      $50 million         $100 million      $100 million


 Estimated Debts
       $0 to     $50,001 to     $100,001 to    $500,001 to           $1,000,001 to   $10,000,001 to       $50,000,001 to      More than

                                 ;                                                                                          
      $50,000     $100,000       $500,000       $1 million            $10 million      $50 million         $100 million      $100 million




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(Official Form 1) (12/02)                                                                                                                                       FORM B1, Page 2

Voluntary Petition                                                                     Name of Debtor(s): Eric Sean Epstein, Colleen Andrea Epstein
  (This page must be completed and filed in every case)
                               Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
 Location                                                                              Case Number:                                           Date Filed:
 Where Filed:     Seattle--Dismissed                                                    02-14916                                                4/02
             Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                       Case Number:                                           Date Filed:
  NONE
 District:                                                                             Relationship:                                          Judge:


                                                                                   Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                               Exhibit A
 I declare under penalty of perjury that the information provided in this                    (To be completed if debtor is required to file periodic reports
 petition is true and correct.                                                               (e.g., forms 10Kand 10Q) with the Securities and Exchange
 [If petitioner is an individual whose debts are primarily consumer debts and has            Commission pursuant to Section 13 or 15(d) of the Securities

                                                                                         Exhibit A is attached and made a part of this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,              Exchange Act of 1934 and is requesting relief under chapter 11)
 11, 12 or 13 of title 11, United States Code, understand the relief available under
 each such chapter, and choose to proceed under chapter 7.
 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                                                 Exhibit B
                                                                                                               (To be completed if debtor is an individual
                                                                                                               whose debts are primarily consumer debts)
  X /s/ Eric Sean Epstein                                                               I, the attorney for the petitioner named in the foregoing petition, declare that
     Signature of Debtor
                                                                                        I have informed the petitioner that [he or she] may proceed under chapter
                                                                                        7, 11, 12, or 13 of title 11, United States Code, and have explained the
  X /s/ Colleen Andrea Epstein                                                          relief available under each such chapter.
     Signature of Joint Debtor
                                                                                         X /s/ Renee C. Warren                                          1/30/04
                                                                                             Signature of Attorney for Debtor(s)                            Date
     Telephone Number (If not represented by attorney)

     1/30/04                                                                                                                  Exhibit C
     Date                                                                                    Does the debtor own or have possession of any property that poses
                                                                                             or is alleged to pose a threat of imminent and identifiable harm to
                                 Signature of Attorney
                                                                                             public health or safety?
  X /s/ Renee C. Warren                                                                              Yes, and Exhibit C is attached and made a part of this petition.
     Signature of Attorney for Debtor(s)
                                                                                                      No
     Renee C. Warren, 16881
                                                                                                            Signature of Non-Attorney Petition Preparer
     Printed Name of Attorney for Debtor(s) / Bar No.
                                                                                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
                                                                                       that I prepared this document for compensation, and that I have provided
     SNODGRASS & WARREN INC., P.S.                                                     the debtor with a copy of this document.
     Firm Name
                                                                                           Not Applicable
     3302 OAKES AVE EVERETT WA 98201
                                                                                           Printed Name of Bankruptcy Petition Preparer
     Address

                                                                                           Social Security Number
     (425) 783-0797
     Telephone Number                                                                      Address
     1/30/04
     Date
                                                                                           Names and Social Security numbers of all other individuals who prepared
               Signature of Debtor (Corporation/Partnership)                               or assisted in preparing this document:
 I declare under penalty of perjury that the information provided in this
 petition is true and correct, and that I have been authorized to file this petition
 on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11, United
 States Code, specified in this petition.
                                                                                           If more than one person prepared this document, attach additional sheets
 X Not Applicable                                                                          conforming to the appropriate official form for each person.
      Signature of Authorized Individual
                                                                                       X Not Applicable
                                                                                           Signature of Bankruptcy Petition Preparer
      Printed Name of Authorized Individual
                                                                                           Date
      Title of Authorized Individual
                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of
                                                                                       title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                       or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
      Date



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Form B6
(6/90)


                                                           United States Bankruptcy Court
                                                          Western District of Washington
                                                                     Seattle

In re    Eric Sean Epstein                                   Colleen Andrea Epstein                             Case No.

                                                                                                                Chapter       7


                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D,
E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
amounts from Schedules D, E and F to determine the total amount of the debtor's liabilities.


                                                                                                                     AMOUNTS SCHEDULED

                                           ATTACHED
         NAME OF SCHEDULE                                   NO. OF SHEETS                      ASSETS                      LIABILITIES                OTHER
                                            (YES/NO)


                                             YES                                  $
  A - Real Property                                                        1                     180,600.00

  B - Personal Property                      YES                                  $
                                                                           3                        9,015.00

  C - Property Claimed
      as Exempt                              YES                           1

  D - Creditors Holding
                                             YES                           1                                     $             168,000.00
      Secured Claims

  E - Creditors Holding Unsecured
                                             YES                           3                                     $                       0.00
      Priority Claims

  F - Creditors Holding Unsecured
                                             YES                           4                                     $                14,700.00
      Nonpriority Claims

  G - Executory Contracts and
      Unexpired Leases                       YES                           1

  H - Codebtors                              YES                           1
  I - Current Income of
      Individual Debtor(s)                   YES                           1                                                                      $        4,571.74
  J - Current Expenditures of
      Individual Debtor(s)
                                             YES                           1                                                                      $        4,505.00

                                                      
                          Total Number of sheets
                                                                          17
                                   in ALL Schedules

                                                          Total Assets           $             189,615.00

                                                                                        Total Liabilities       $            182,700.00




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FORM B6A
(6/90)

In re:   Eric Sean Epstein                                      Colleen Andrea Epstein                                           ,          Case No.
                              Debtor                                                                                                                                    (If known)




                                               SCHEDULE A - REAL PROPERTY
              Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
         co-tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
         the debtor's own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an "H", "W", "J", or "C" in the column
         labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description and Location of Property."



             Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G -
         Executory Contracts and Unexpired Leases.

              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If
         no entity claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

              If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule
         C - Property Claimed as Exempt.




                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                               CURRENT
                                                                                                                                            MARKET VALUE




                                                                                                          OR COMMUNITY
                                                                                                                                             OF DEBTOR'S
                 DESCRIPTION AND                                                                                                              INTEREST IN                       AMOUNT OF
                   LOCATION OF                                    NATURE OF DEBTOR'S
                                                                 INTEREST IN PROPERTY                                                     PROPERTY WITHOUT                       SECURED
                    PROPERTY                                                                                                                DEDUCTING ANY                         CLAIM
                                                                                                                                           SECURED CLAIM
                                                                                                                                             OR EXEMPTION




 1 ACRE OF UNDEVELOPED LAND IN                           Fee Owner                                            C                                          $     600.00                   $    0.00
 DOUGLAS COUNTY
 NOTE:        DIV 2, BLK 6, LOT 13, PARCEL NO: 81500601300
 HOME--1,544 SQ FT RAMBLER ON .17                        FEE SIMPLE SUBJECT TO                                C                                      $ 180,000.00                    $ 168,000.00
 ACRE                                                    DEEDS OF TRUST
 NOTE:        ASSESSING AT $134,300.00

                                                                                            Total          ¾                                         $ 180,600.00
                                                                                                                               (Report also on Summary of Schedules.)




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FORM B6B
(10/89)

In re     Eric Sean Epstein                                  Colleen Andrea Epstein                     ,    Case No.
                                       Debtor                                                                                                      (If known)



                                        SCHEDULE B - PERSONAL PROPERTY

               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
          categories, place an "X" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a
          separate sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state whether
          husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the
          debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.



              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory
          Contracts and Unexpired Leases.

          If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of
          Property."




                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                       CURRENT




                                                                                                                           OR COMMUNITY
                                                                                                                                                   MARKET VALUE OF
                                                                                                                                                  DEBTOR'S INTEREST
                                                  NONE




                                                                      DESCRIPTION AND LOCATION                                                    IN PROPERTY, WITH-
             TYPE OF PROPERTY                                               OF PROPERTY                                                           OUT DEDUCTING ANY
                                                                                                                                                    SECURED CLAIM
                                                                                                                                                     OR EXEMPTION



  1. Cash on hand                                         CASH                                                              C                                     90.00

  2. Checking, savings or other financial                 CITYBANK ACCOUNT                                                   C                                   125.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.


  3. Security deposits with public utilities,     X
     telephone companies, landlords, and
     others.


  4. Household goods and furnishings,                     USUAL & ORDINARY HOUSEHOLD GOODS                                   C                                  1,500.00
     including audio, video, and computer
     equipment.


  5. Books, pictures and other art objects,               BOOKS; PICTURES                                                   C                                    200.00
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.


  6. Wearing apparel.                                     USUAL & ORDINARY CLOTHING                                         C                                    500.00

  7. Furs and jewelry.                                    WEDDING RINGS                                                     C                                    500.00

  8. Firearms and sports, photographic, and               GOLF EQUIPMENT; ROLLERBLADES                                      C                                   1,000.00
     other hobby equipment.


  9. Interests in insurance policies. Name        X
     insurance company of each policy and
     itemize surrender or refund value of
     each.


 10. Annuities. Itemize and name each             X
     issuer.




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FORM B6B
(10/89)

In re     Eric Sean Epstein                                    Colleen Andrea Epstein               ,   Case No.
                                       Debtor                                                                                                (If known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                     (Continuation Sheet)




                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                 CURRENT




                                                                                                                     OR COMMUNITY
                                                                                                                                             MARKET VALUE OF
                                                                                                                                            DEBTOR'S INTEREST

                                                    NONE
                                                                         DESCRIPTION AND LOCATION                                           IN PROPERTY, WITH-
            TYPE OF PROPERTY                                                   OF PROPERTY                                                  OUT DEDUCTING ANY
                                                                                                                                              SECURED CLAIM
                                                                                                                                               OR EXEMPTION



 11. Interests in IRA, ERISA, Keogh, or other       X
     pension or profit sharing plans. Itemize.


 12. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.


 13. Interests in partnerships or joint             X
     ventures. Itemize.


 14. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.


 15. Accounts receivable.                           X

 16. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.


 17. Other liquidated debts owing debtor                    TAX REFUND                                                 C                                  2,500.00
     including tax refunds. Give particulars.


 18. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule of Real Property.


 19. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.


 20. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.


 21. Patents, copyrights, and other                 X
     intellectual property. Give particulars.


 22. Licenses, franchises, and other general        X
     intangibles. Give particulars.


 23. Automobiles, trucks, trailers, and other               1985 HONDA ACCORD                                          C                                   500.00
     vehicles and accessories.


                                                            1994 PLYMOUTH VOYAGER                                     C                                   2,000.00




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FORM B6B
(10/89)

In re     Eric Sean Epstein                                Colleen Andrea Epstein                 ,   Case No.
                                    Debtor                                                                                                    (If known)



                                       SCHEDULE B - PERSONAL PROPERTY
                                                                   (Continuation Sheet)




                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                  CURRENT




                                                                                                                      OR COMMUNITY
                                                                                                                                              MARKET VALUE OF
                                                                                                                                             DEBTOR'S INTEREST

                                               NONE
                                                                     DESCRIPTION AND LOCATION                                                IN PROPERTY, WITH-
            TYPE OF PROPERTY                                               OF PROPERTY                                                       OUT DEDUCTING ANY
                                                                                                                                               SECURED CLAIM
                                                                                                                                                OR EXEMPTION



 24. Boats, motors, and accessories.           X

 25. Aircraft and accessories.                 X

 26. Office equipment, furnishings, and        X
     supplies.


 27. Machinery, fixtures, equipment and        X
     supplies used in business.


 28. Inventory.                                X
 29. Animals.                                  X

 30. Crops - growing or harvested. Give        X
     particulars.


 31. Farming equipment and implements.         X

 32. Farm supplies, chemicals, and feed.       X

 33. Other personal property of any kind not           1990 UTILITY TRAILER                                            C                                   100.00
     already listed. Itemize.



                                                       2   continuation sheets attached                     Total               ¾                      $ 9,015.00

                                                                                                                 (Include amounts from any continuation sheets
                                                                                                                 attached. Report total also on Summary of
                                                                                                                 Schedules.)




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FORM B6C
(6/90)

In re    Eric Sean Epstein                              Colleen Andrea Epstein                            , Case No.
                                      Debtor.                                                                                      (If known)



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemption to which debtor is entitled under:


(Check one box)

; 11 U.S.C. § 522(b)(1)         Exemptions provided in 11 U.S.C. § 522(d).        Note: These exemptions are available only in certain states.

 11 U.S.C. § 522(b)(2)         Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has
                                been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the 180-day period
                                than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the extent the interest is
                                exempt from process under applicable nonbankruptcy law.



                                                                                                 VALUE OF                      CURRENT MARKET
                                                          SPECIFY LAW
                                                                                                 CLAIMED                      VALUE OF PROPERTY,
         DESCRIPTION OF PROPERTY                         PROVIDING EACH
                                                           EXEMPTION                            EXEMPTION                     WITHOUT DEDUCTING
                                                                                                                                  EXEMPTIONS

1 ACRE OF UNDEVELOPED                      11 USC § 522(d)(5)                                             600.00                                   600.00
LAND IN DOUGLAS COUNTY
1985 HONDA ACCORD                          11 USC § 522(d)(5)                                             500.00                                   500.00
1990 UTILITY TRAILER                       11 USC § 522(d)(5)                                             100.00                                   100.00
1994 PLYMOUTH VOYAGER                      11 USC § 522(d)(2)                                           2,000.00                                  2,000.00
BOOKS; PICTURES                            11 USC § 522(d)(3)                                             200.00                                   200.00
CASH                                       11 USC § 522(d)(5)                                              90.00                                    90.00
CITYBANK ACCOUNT                           11 USC § 522(d)(5)                                             125.00                                   125.00
GOLF EQUIPMENT;                            11 USC § 522(d)(3)                                           1,000.00                                  1,000.00
ROLLERBLADES
HOME--1,544 SQ FT RAMBLER                  11 USC § 522(d)(1)                                         12,000.00                                 180,000.00
ON .17 ACRE
TAX REFUND                                 11 USC § 522(d)(5)                                           2,500.00                                  2,500.00
USUAL & ORDINARY                           11 USC § 522(d)(3)                                             500.00                                   500.00
CLOTHING
USUAL & ORDINARY                           11 USC § 522(d)(3)                                           1,500.00                                  1,500.00
HOUSEHOLD GOODS
WEDDING RINGS                              11 USC § 522(d)(4)                                             500.00                                   500.00




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FORM B6D
(6/90)

In re:   Eric Sean Epstein                                                  Colleen Andrea Epstein                           ,                                 Case No.


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

      State the name, mailing address, including zip code, and account number, if any, of all entities holding claims secured by property of the debtor
as of the date of filing of the petition. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens,
mortgages, deeds of trust, and other security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on
this page, use the continuation sheet provided.

      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them,
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."



     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also
on the Summary of Schedules.

  V      Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

                                                                                                                                                                                    AMOUNT
                                                                            HUSBAND, WIFE, JOINT




                                                                                                     DATE CLAIM WAS INCURRED,
                                                                                                                                                                                    OF CLAIM




                                                                                                                                                         UNLIQUIDATED
                                                                              OR COMMUNITY




                    CREDITOR'S NAME AND                                                                 NATURE OF LIEN, AND                                                                          UNSECURED




                                                                                                                                          CONTINGENT
                                                                 CODEBTOR




                                                                                                                                                                        DISPUTED
                                                                                                      DESCRIPTION AND MARKET                                                        WITHOUT
                      MAILING ADDRESS                                                                                                                                                                 PORTION,
                                                                                                        VALUE OF PROPERTY                                                          DEDUCTING
                     INCLUDING ZIP CODE                                                                                                                                                                IF ANY
                                                                                                          SUBJECT TO LIEN                                                           VALUE OF
                                                                                                                                                                                   COLLATERAL


ACCOUNT NO.
                                                                              J                                                                                                       33,000.00 0.00
IRWIN HOME EQUITY                                                                                  Deed of Trust
                                                                                                   HOME--1,544 SQ FT RAMBLER ON
12677 ALCOSTA BLVD #500
                                                                                                   .17 ACRE
SAN RAMON CA 94583                                                                                 __________________________
                                                                                                   VALUE $180,000.00


ACCOUNT NO.
                                                                              J 8/99                                                                                                 135,000.00 0.00
WELLS FARGO HOME MORTGAGE                                                                          Deed of Trust
                                                                                                   HOME--1,544 SQ FT RAMBLER ON
P O BOX 10335
                                                                                                   .17 ACRE
DES MOINES IA 50306                                                                                __________________________
                                                                                                   VALUE $180,000.00




0 Continuation sheets attached
                                                                                                                           Subtotal                                                $168,000.00
                                                                                                                                 (Total of this page)
                                                                                                                                 Total                                             $168,000.00
                                                                                                                           (Use only on last page)



                                                                                                                                                       (Report total also on Summary of Schedules)




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B6E
(Rev.4/98)

In re:       Eric Sean Epstein                                        Colleen Andrea Epstein                      ,            Case No.
                                            Debtor                                                                                                    (If known)


                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders
of unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name and
mailing address, including zip code, and account number, if any, of all entities holding priority claims against the debtor or the property of
the debtor, as of the date of the filing of the petition.

         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include
the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband,
wife, both of them or the marital community may be liable on each claim by placing a "H," "W", "J", or "C" in the column labeled "Husband,
Wife, Joint, or Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
one of these three columns.)

         Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

 ;       Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

 TYPES OF PRIORITY CLAIMS                    (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


        Extensions of credit in an involuntary case

         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
         before the earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

  Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
         owing to qualifying independent sales representatives up to $4,650* per person earned within 90 days immediately preceding
         the filing of the original petition, or the cessation of business, whichever occurred first, to the extent provided in
         11 U.S.C. § 507(a)(3).

        Contributions to employee benefit plans

         Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
         petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Certain farmers and fishermen

         Claims of certain farmers and fishermen, up to $4,650* per farmer or fisherman, against the debtor, as provided in 11
         U.S.C. § 507(a)(5).

        Deposits by individuals

         Claims of individuals up to $2,100* for deposits for the purchase, lease, or rental of property or services for personal,
         family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).




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B6E
(Rev.4/98)

In re:        Eric Sean Epstein                                    Colleen Andrea Epstein                        ,       Case No.
                               Debtor                                                                                                      (If known)

        Alimony, Maintenance, or Support

         Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in
         11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units

         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11
         U.S.C. § 507(a)(8).
        Commitments to Maintain the Capital of an Insured Depository Institution

         Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency,
         or Board of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of
         an insured depository institution. 11 U.S.C. § 507(a)(9).

        Other Priority Debts

         * Amounts are subject to adjustment on April 1, 2004, and every three years thereafter with respect to cases commenced on or
         after the date of adjustment.




                                                                   1 Continuation sheets attached




                   Case 04-11215-TTG                  Doc 1        Filed 02/02/04            Ent. 02/02/04 05:46:12                  Pg. 11 of 36
FORM B6E - Cont.
(10/89)

In re:     Eric Sean Epstein                                                  Colleen Andrea Epstein                                        ,          Case No.
                            Debtor                                                                                                                                                                  (If known)


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                                           HUSBAND, WIFE, JOINT
                                                                                                   DATE CLAIM WAS                                                                                                AMOUNT




                                                                                                                                                                   UNLIQUIDATED
                                                                             OR COMMUNITY




                                                                                                                                                      CONTINGENT
                                                                CODEBTOR
                   CREDITOR'S NAME AND                                                              INCURRED AND                                                                                TOTAL




                                                                                                                                                                                  DISPUTED
                                                                                                                                                                                                                 ENTITLED
                     MAILING ADDRESS                                                               CONSIDERATION                                                                               AMOUNT               TO
                    INCLUDING ZIP CODE                                                                FOR CLAIM                                                                                OF CLAIM          PRIORITY



 ACCOUNT NO.




Sheet no. 1 of 1 sheets attached to Schedule of Creditors Holding Priority Claims                                                              Subtotal
                                                                                                                                   (Total of this page)            ¾                               $0.00
                                                                                                                                                Total              ¾                               $0.00
                                                                                                  (Use only on last page of the completed Schedule E.)
                                                                                                                                   (Report total also on Summary of Schedules)




                Case 04-11215-TTG                      Doc 1                 Filed 02/02/04                    Ent. 02/02/04 05:46:12                                                        Pg. 12 of 36
FORM B6F (Official Form 6F) - (9/97)


In re:    Eric Sean Epstein                                   Colleen Andrea Epstein                                       ,               Case No.
                                  Debtor                                                                                                                                              (If known)


         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

          State the name, mailing address, including zip code, and account number, if any, of all entities holding unsecured claims without priority against
    the debtor or the property of the debtor, as of the date of filing of the petition. Do not include claims listed in Schedules D and E. If all creditors will
    not fit on this page, use the continuation sheet provided.

          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
    the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the
    marital comunity maybe liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community."


         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
    "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these
    three columns.)


         Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on
    the Summary of Schedules.

    V     Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY




               CREDITOR'S NAME AND




                                                                                                                                               CONTINGENT

                                                                                                                                                            UNLIQUIDATED
                                                                                                      DATE CLAIM WAS INCURRED
                                                                CODEBTOR




                                                                                                                                                                           DISPUTED
                 MAILING ADDRESS                                                                    AND CONSIDERATION FOR CLAIM.                                                        AMOUNT OF
                INCLUDING ZIP CODE                                                                      IF CLAIM IS SUBJECT TO                                                            CLAIM
                                                                                                           SETOFF, SO STATE



ACCOUNT NO.                                                                 J                                                                                                                      NOTICE
AMERICREDIT
1100 W GROVE PKWY #101
TEMPE AZ 85283



ACCOUNT NO.                                                                 J                                                                                                                      NOTICE
AMERICREDIT
4000 EMBARCADERO
ARLINGTON TX 76014



ACCOUNT NO.                                                                 J                                                                                                              UNKNOWN
AMERICREDIT                                                                                       DEFICIENCY
P O BOX 183853
ARLINGTON TX 76096




                  3   Continuation sheets attached
                                                                                                                               Subtotal                                                             $0.00

                                                                                                                                   Total   




                Case 04-11215-TTG                      Doc 1                 Filed 02/02/04                    Ent. 02/02/04 05:46:12                            Pg. 13 of 36
FORM B6F - Cont.
(10/89)

 In re:   Eric Sean Epstein                                  Colleen Andrea Epstein                                                            ,                   Case No.
                                Debtor                                                                                                                                                                        (If known)


          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY
              CREDITOR'S NAME AND




                                                                                                                                                                       CONTINGENT

                                                                                                                                                                                    UNLIQUIDATED
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                   DISPUTED
                MAILING ADDRESS                                                                      AND CONSIDERATION FOR CLAIM.                                                                               AMOUNT OF
               INCLUDING ZIP CODE                                                                        IF CLAIM IS SUBJECT TO                                                                                   CLAIM
                                                                                                            SETOFF, SO STATE



ACCOUNT NO.                                                                 J                                                                                                                                              NOTICE
 BENEFICIAL
 P O BOX 60101
 CITY OF INDUSTRY CA 91716



ACCOUNT NO.                                                                 J                                                                                                                                          9,000.00
 BENEFICIAL WASHINGTON
 961 WEIGEL DRIVE
 ELMHURST IL 60126



ACCOUNT NO.                                                                 J                                                                                                                                          1,800.00
 BOEING EMPLOYEES CREDIT UNION
 P O BOX 97050
 SEATTLE WA 98124



ACCOUNT NO.                                                                 J                                                                                                                                          1,500.00
 CAPITAL ONE SERVICES                                                                             REVOLVING ACCOUNT
 P O BOX 85015
 RICHMOND VA 23285



ACCOUNT NO.                                                                 J                                                                                                                                              NOTICE
 eCAST SETTLEMENT                                                                                 HOUSEHOLD BANK
 P O BOX 35480
 NEWARK NJ 07193-5480




Sheet no. 1 of 3 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                   Subtotal                                                    $12,300.00
Claims                                                                                                                                      (Total of this page)

                                                                                                                                                         Total     
                                                                                                          (Use only on last page of the completed Schedule F.)




                Case 04-11215-TTG                     Doc 1                  Filed 02/02/04                              Ent. 02/02/04 05:46:12                                          Pg. 14 of 36
FORM B6F - Cont.
(10/89)

 In re:   Eric Sean Epstein                                  Colleen Andrea Epstein                                                            ,                   Case No.
                                Debtor                                                                                                                                                                        (If known)


          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY
              CREDITOR'S NAME AND




                                                                                                                                                                       CONTINGENT

                                                                                                                                                                                    UNLIQUIDATED
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                   DISPUTED
                MAILING ADDRESS                                                                      AND CONSIDERATION FOR CLAIM.                                                                               AMOUNT OF
               INCLUDING ZIP CODE                                                                        IF CLAIM IS SUBJECT TO                                                                                   CLAIM
                                                                                                            SETOFF, SO STATE



ACCOUNT NO.                                                                 J                                                                                                                                               450.00
 KEEHN CHIROPRACTIC CLINIC
 505 CEDAR #C-3
 MARYSVILLE WA 98270



ACCOUNT NO.                                                                 J                                                                                                                                               250.00
 N R S CIRCULATION
 524 N SALINA STREET
 SYRACUSE NY 13208



ACCOUNT NO.                                                                 J                                                                                                                                              NOTICE
 RICHARD HAYDEN                                                                                   AMERICREDIT
 1427 W 6TH AVE
 SPOKANE WA 99204



ACCOUNT NO.                                                                 J                                                                                                                                              NOTICE
 SBA
 200 W SANTA ANA BLVD #950
 SANTA ANA CA 92701



ACCOUNT NO.                                                                 J                                                                                                                                              NOTICE
 SNOHOMISH COUNTY TREASURER
 M/S 501
 3000 ROCKEFELLER AVE
 EVERETT WA 98201




Sheet no. 2 of 3 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                   Subtotal                                                           $700.00
Claims                                                                                                                                      (Total of this page)

                                                                                                                                                         Total     
                                                                                                          (Use only on last page of the completed Schedule F.)




                Case 04-11215-TTG                     Doc 1                  Filed 02/02/04                              Ent. 02/02/04 05:46:12                                          Pg. 15 of 36
FORM B6F - Cont.
(10/89)

 In re:   Eric Sean Epstein                                  Colleen Andrea Epstein                                                            ,                   Case No.
                                Debtor                                                                                                                                                                         (If known)


          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                           HUSBAND, WIFE, JOINT
                                                                             OR COMMUNITY
              CREDITOR'S NAME AND




                                                                                                                                                                       CONTINGENT

                                                                                                                                                                                    UNLIQUIDATED
                                                                                                       DATE CLAIM WAS INCURRED




                                                                CODEBTOR




                                                                                                                                                                                                   DISPUTED
                MAILING ADDRESS                                                                      AND CONSIDERATION FOR CLAIM.                                                                                  AMOUNT OF
               INCLUDING ZIP CODE                                                                        IF CLAIM IS SUBJECT TO                                                                                      CLAIM
                                                                                                            SETOFF, SO STATE



ACCOUNT NO.                                                                 J                                                                                                                                                1,700.00
 TOWN & COUNTRY FENCE
 6410 212TH STREET SW
 LYNNWOOD WA 98036



ACCOUNT NO.                                                                 J                                                                                                                                                NOTICE
 WELLS FARGO HOME MORTGAGE
 5024 PARKWAY PLAZA BLVD
 CHARLOTTE NC 28217




Sheet no. 3 of 3 continuation sheets attached to Schedule of Creditors Holding Unsecured Nonpriority                                                   Subtotal                                                           $1,700.00
Claims                                                                                                                                      (Total of this page)

                                                                                                                                                         Total                                                          $14,700.00
                                                                                                          (Use only on last page of the completed Schedule F.)

                                                                                                                                                                                                          (Report also on Summary of Schedules)




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Form B6G
(10/89)

In re:    Eric Sean Epstein                                Colleen Andrea Epstein                                     Case No.
                                                                                                            ,
                                        Debtor                                                                                               (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.


                  State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.


             Provide the names and complete mailing addresses of all other parties to each lease or contract described.

             NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate
             schedule of creditors.


   ;      Check this box if debtor has no executory contracts or unexpired leases.


                                                                                            DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
             NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                   DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
               OF OTHER PARTIES TO LEASE OR CONTRACT.                                       NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                NUMBER OF ANY GOVERNMENT CONTRACT.




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B6H
(6/90)
In re:    Eric Sean Epstein                                Colleen Andrea Epstein                         ,    Case No.
                 Debtor                                                                                                              (If known)


                                                 SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also
liable on any debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. In community
property states, a married debtor not filing a joint case should report the name and address of the nondebtor spouse on this
schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the commencement
of this case.
          ; Check this box if debtor has no codebtors.

                          NAME AND ADDRESS OF CODEBTOR                                                 NAME AND ADDRESS OF CREDITOR




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 FORM B6I
 (6/90)
 In re       Eric Sean Epstein, Colleen Andrea Epstein                                         , Case No.

                                                   Debtor                                                                        (If known)




            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.


 Debtor’s Marital
                                                                DEPENDENTS OF DEBTOR AND SPOUSE
 Status: MARRIED
 Debtor’s Age:                            NAMES                                                     AGE                          RELATIONSHIP
 Spouse’s Age:                            AUSTIN                                                            6                SON
                                          MEAGHAN                                                           4                DAUGHTER
 EMPLOYMENT:                                           DEBTOR                                                    SPOUSE
 Occupation                     BUYER                                                        RECEPTIONIST
 Name of Employer               BOEING CO                                                    CENTER FOR DIAGNOSTIC IMAGING
 How long employed              7 1/2 YEARS                                                   8 MONTHS
 Address of Employer            SEATTLE WA                                                   MOUNTLAKE TERRACE WA

 Income: (Estimate of average monthly income)                                                               DEBTOR                  SPOUSE
 Current monthly gross wages, salary, and commissions
 (pro rate if not paid monthly.)                                                               $                4,225.07 $                    1,278.35
 Estimated monthly overtime                                                                    $                     0.00 $                       0.00

 SUBTOTAL                                                                                      $                4,225.07    $                 1,278.35
         LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                  $                  762.68 $                      158.17
                                                                                               $                    0.00 $                        0.00
         b. Insurance
         c. Union dues                                                                         $                    0.00 $                        0.00
         d. Other (Specify)       DISABILITY                                                    $                  10.83     $                    0.00

  SUBTOTAL OF PAYROLL DEDUCTIONS                                                               $                  773.51 $                      158.17
 TOTAL NET MONTHLY TAKE HOME PAY                                                               $                3,451.55 $                    1,120.18
 Regular income from operation of business or profession or farm
 (attach detailed statement)                                                                   $                     0.00 $                       0.00
 Income from real property                                                                     $                     0.00 $                       0.00
 Interest and dividends                                                                        $                     0.00 $                       0.00
 Alimony, maintenance or support payments payable to the debtor for the
 debtor’s use or that of dependents listed above.                                              $                     0.00 $                       0.00
 Social security or other government assistance
 (Specify)                                                                                     $                     0.00 $                       0.00
 Pension or retirement income                                                                  $                     0.00    $                    0.00
 Other monthly income
 (Specify)                                                                                     $                     0.00 $                        0.00


 TOTAL MONTHLY INCOME                                                                           $               3,451.55 $                    1,120.18

 TOTAL COMBINED MONTHLY INCOME                                     $ 4,571.74               (Report also on Summary of Schedules)
 Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following
 the filing of this document:                           NONE




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Form B6J
(6/90)

  In re    Eric Sean Epstein, Colleen Andrea Epstein                                                       ,     Case No.
            Debtor                                                                                                              (If known)

              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Prorate any payments made bi-weekly,
quarterly, semi-annually, or annually to show monthly rate.

V     Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
      schedule of expenditures labeled "Spouse".
Rent or home mortgage payment (include lot rented for mobile home)                                                      $              1,464.00
Are real estate taxes included?               Yes           '           No
Is property insurance included?               Yes           '           No
Utilities Electricity and heating fuel                                                                                  $                190.00
          Water and sewer                                                                                               $                100.00
           Telephone                                                                                                    $                 90.00
           Other     CABLE                                                                                              $                    56.00
                     GARBAGE                                                                                            $                    90.00
Home maintenance (repairs and upkeep)                                                                                   $                 75.00
Food                                                                                                                    $                650.00
Clothing                                                                                                                $                150.00
Laundry and dry cleaning                                                                                                $                 50.00
Medical and dental expenses                                                                                             $                100.00
Transportation (not including car payments)                                                                             $                200.00
Recreation, clubs and entertainment, newspapers, magazines, etc.                                                        $                 90.00
Charitable contributions                                                                                                $                 15.00
Insurance (not deducted from wages or included in home mortgage payments)
              Homeowner’s or renter’s                                                                                   $                  0.00
              Life                                                                                                      $                 45.00
              Health                                                                                                    $                  0.00
              Auto                                                                                                      $                250.00
             Other                                                                                                      $                     0.00
Taxes (not deducted from wages or included in home mortgage payments)
(Specify)                                                                                                               $                     0.00
Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan)
              Auto                                                                                                      $                  0.00
              Other 2ND MORTGAGE                                                                                        $                630.00
Alimony, maintenance or support paid to others                                                                          $                  0.00
Payments for support of additional dependents not living at your home                                                   $                  0.00
Regular expenses from operation of business, profession, or farm (attach detailed statement)                            $                  0.00
Other      DAYCARE                                                                                                      $                260.00

TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                            $             4,505.00
[FOR CHAPTER 12 AND 13 DEBTORS ONLY]
Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at
some other regular interval.
A. Total projected monthly income                                                                                       $
B. Total projected monthly expenses                                                                                     $
C. Excess income (A minus B)                                                                                            $
D. Total amount to be paid into plan each                                                                               $
                                                                                 (interval)




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In re:   Eric Sean Epstein                                      Colleen Andrea Epstein                                      Case No.
         XXX-XX-XXXX                                            XXX-XX-XXXX

                  DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                              17 sheets plus the summary
page, and that they are true and correct to the best of my knowledge, information, and belief.




Date:       1/30/04                                                                Signature /s/ Eric Sean Epstein
                                                                                               Eric Sean Epstein

Date:       1/30/04                                                              Signature /s/ Colleen Andrea Epstein
                                                                                               Colleen Andrea Epstein

                                                                                  [If joint case, both spouses must sign]


                                            DECLARATION UNDER PENALTY OF PERJURY
                                           ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                        (NOT APPLICABLE)




Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152
and 3571.




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                                              UNITED STATES BANKRUPTCY COURT
                                                  Western District of Washington
                                                             Seattle

In re:   Eric Sean Epstein                            Colleen Andrea Epstein                     Case No.
         XXX-XX-XXXX                                   XXX-XX-XXXX                               Chapter     7

                                     STATEMENT OF FINANCIAL AFFAIRS

      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement
 on which the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a
 married debtor must furnish information for both spouses whether or not a joint petition is filed, unless the
 spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
 proprietor, partner, family farmer, self-employed professional, should provide the information requested on this
 statement concerning all such activities as well as the individual's personal affairs.

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as
 defined below, also must complete Questions 19 -25. If the answer to an applicable question is "None,"
 mark the box labeled "None" If additional space is needed for the answer to any question,
 use and attach a separate sheet properly identified with the case name, case number (if known), and the
 number of the question.

                                                               DEFINITIONS
           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or
 partnership. An individual debtor is "in business" for the purpose of this form if the debtor is or has been, within
 the two years immediately preceding the filing of this bankruptcy case, any of the following: an officer,
 director, managing executive, or person in control of a corporation; a partner, other than a limited partner, of a
 partnership; a sole proprietor or self-employed.
           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of
 the debtor and their relatives; corporations of which the debtor is an officer, director, or person in control;
 officers, directors, and any person in control of a corporate debtor and their relatives; affiliates of the debtor and
 insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(30).




          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from
         operation of the debtor's business from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this
          calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
          than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
          chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)
          AMOUNT                            SOURCE                                         FISCAL YEAR PERIOD

          58,911.00                         2003 WAGES--H

          12,833.00                         2003 WAGES--W

          47,081.00                         2002 WAGES--H

          14,248.00                         2002 WAGES--W

          2. Income other than from employment or operation of business



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None
  ;
       State the amount of income received by the debtor other than from employment, trade,
       profession, or operation of the debtor's business during the two years immediately preceding the
       commencement of this case. Give particulars. If a joint petition is filed, state income for each
       spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
       each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

       AMOUNT                            SOURCE                                       FISCAL YEAR PERIOD


       3. Payments to creditors
None
  ;
       a. List all payments on loans, installment purchases of goods or services, and other debts,
       aggregating more than $600 to any creditor, made within 90 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)

                                                         DATES OF                               AMOUNT              AMOUNT
       NAME AND ADDRESS OF CREDITOR                      PAYMENTS                               PAID                STILL OWING

       b. List all payments made within one year immediately preceding the commencement of this case
       to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12
       or chapter 13 must include payments by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)
None
  ;
       NAME AND ADDRESS OF CREDITOR                    DATES OF                                                     AMOUNT
       AND RELATIONSHIP TO DEBTOR                      PAYMENTS                               AMOUNT PAID           STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None
  ;
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
       immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or
       chapter 13 must include information concerning either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

       CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                      NATURE OF PROCEEDING             AND LOCATION                          DISPOSITION




       b. Describe all property that has been attached, garnished or seized under any legal or equitable
       process within one year immediately preceding the commencement of this case. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  ;
       NAME AND ADDRESS                                                                 DESCRIPTION
       OF PERSON FOR WHOSE                                   DATE OF                    AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                           SEIZURE                    PROPERTY




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       5. Repossessions, foreclosures and returns
None
  ;
       List all property that has been repossessed by a creditor, sold at a foreclosure sale,
       transferred through a deed in lieu of foreclosure or returned to the seller, within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include information concerning property of either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                            DATE OF REPOSSESSION,         DESCRIPTION
       NAME AND ADDRESS                                     FORECLOSURE SALE              AND VALUE OF
       OF CREDITOR OR SELLER                                TRANSFER OR RETURN            PROPERTY



       6. Assignments and receiverships
None
      a. Describe any assignment of property for the benefit of creditors made within 120 days
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                      DATE OF                      ASSIGNMENT
       OF ASSIGNEE                                           ASSIGNMENT                   OR SETTLEMENT

       CHAPTER 13 TRUSTEE                                   4/02                          1,100.00 BIWEEKLY
       SEATTLE WA


       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official
       within one year immediately preceding the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
None
  ;
                                                NAME AND ADDRESS                                          DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                 AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                   PROPERTY


       7. Gifts
None
  ;
            List all gifts or charitable contributions made within one year immediately preceding the
       commencement of this case except ordinary and usual gifts to family members aggregating less
       than $200 in value per individual family member and charitable contributions aggregating less
       than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts
       or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses
       are separated and a joint petition is not filed.)

       NAME AND ADDRESS                         RELATIONSHIP                                              DESCRIPTION
       OF PERSON                                TO DEBTOR,                    DATE                        AND VALUE OF
       OR ORGANIZATION                          IF ANY                        OF GIFT                     GIFT


       8. Losses

None
  ;
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding
       the commencement of this case or since the commencement of this case. (Married debtors filing
       under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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       DESCRIPTION                                  DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                 LOSS WAS COVERED IN WHOLE OR IN PART                           DATE OF
       PROPERTY                                     BY INSURANCE, GIVE PARTICULARS                                 LOSS


       9. Payments related to debt counseling or bankruptcy
None        List all payments made or property transferred by or on behalf of the debtor to any persons,
      including attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law
       or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.
       NAME AND ADDRESS
                                                              DATE OF PAYMENT,                    AMOUNT OF MONEY OR
       OF PAYEE                                               NAME OF PAYOR IF                    DESCRIPTION AND VALUE
                                                              OTHER THAN DEBTOR                   OF PROPERTY
       SNODGRASS & WARREN INC., P.S.                          1/04                                950.00
       3302 OAKES AVE
       EVERETT WA 98201


       10. Other transfers
None
  ;
       a. List all other property, other than property transferred in the ordinary course of the business or
       financial affairs of the debtor, transferred either absolutely or as security within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of
      the debtor which were closed, sold, or otherwise transferred within one year immediately preceding
       the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit
       unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning accounts or instruments held by or for either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                             TYPE AND NUMBER                      AMOUNT AND
       NAME AND ADDRESS                                      OF ACCOUNT AND                       DATE OF SALE
       OF INSTITUTION                                        AMOUNT OF FINAL BALANCE              OR CLOSING

       WORLDCOM STOCK                                                                             40.00--12/03


       12. Safe deposit boxes
None
  ;
       List each safe deposit or other box or depository in which the debtor has or had securities,
       cash, or other valuables within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)




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        NAME AND ADDRESS                          NAMES AND ADDRESSES               DESCRIPTION                    DATE OF TRANSFER
        OF BANK OR                                OF THOSE WITH ACCESS              OF                             OR SURRENDER,
        OTHER DEPOSITORY                          TO BOX OR DEPOSITORY              CONTENTS                       IF ANY


        13. Setoffs
None
  ;
        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor
        within 90 days preceding the commencement of this case. (Married debtors filing under chapter 12
        or chapter 13 must include information concerning either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                        DATE OF                                        AMOUNT OF
        NAME AND ADDRESS OF CREDITOR                                    SETOFF                                         SETOFF


        14. Property held for another person
None
  ;
        List all property owned by another person that the debtor holds or controls.

        NAME AND ADDRESS                                       DESCRIPTION AND VALUE
        OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


        15. Prior address of debtor
None
  ;
        If the debtor has moved within the two years immediately preceding the commencement of this
        case, list all premises which the debtor occupied during that period and vacated prior to the
        commencement of this case. If a joint petition is filed, report also any separate address of either
        spouse.

        ADDRESS                                                         NAME USED                               DATES OF OCCUPANCY


         16. Spouses and Former Spouses
 None
   ;
         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
         California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year
         period immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former
         spouse who resides or resided with the debtor in the community property state.

         NAME



        17. Environmental Information.
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
        hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
        including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
                formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

        a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
        date of the notice, and, if known, the Environmental Law.



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None
  ;
        SITE NAME AND                              NAME AND ADDRESS                   DATE OF                    ENVIRONMENTAL
        ADDRESS                                    OF GOVERNMENTAL UNIT               NOTICE                     LAW


         b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
         Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

 None
   ;
         SITE NAME AND                         NAME AND ADDRESS                    DATE OF                ENVIRONMENTAL
         ADDRESS                               OF GOVERNMENTAL UNIT                NOTICE                 LAW



         c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
         to the proceeding, and the docket number.
 None
   ;
         NAME AND ADDRESS                      DOCKET NUMBER                                         STATUS OR
         OF GOVERNMENTAL UNIT                                                                        DISPOSITION


        18. Nature, location and name of business
None
  ;
        a.      If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
        and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
        executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the six years
        immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
        equity securities within the six years immediately preceding the commencement of this case.


        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
        business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
        percent or more of the voting or equity securities within the six years immediately preceding the
        commencement of this case.


        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
        business, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
        percent or more of the voting or equity securities within the six years immediately preceding the
        commencement of this case.

                                 TAXPAYER                                                                          BEGINNING AND ENDING
        NAME                     I.D. NUMBER            ADDRESS                          NATURE OF BUSINESS        DATES



         b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
         U.S.C. § 101.
 None
   ;
         NAME                                                                      ADDRESS




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        The following questions are to be completed by every debtor that is a corporation or partnership and
   by any individual debtor who is or has been, within the six years immediately preceding the commencement
   of this case, any of the following: an officer, director, managing executive, or owner or more than 5
   percent of the voting securities of a corporation; a partner, other than limited partner, of a partnership;
   a sole proprietor or otherwise self-employed.

      (An individual or joint debtor should complete this portion of the statement only if the debtor is or has
   been in business, as defined above, within the six years immediately preceding the commencement of this
   case.)


       19. Books, records and financial statements
None
  ;
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of
       this bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                          DATES SERVICES RENDERED


       b. List all firms or individuals who within the two years immediately preceding the filing of this
       bankruptcy case have audited the books of account and records, or prepared a financial statement
       of the debtor.
None
  ;
       NAME AND ADDRESS                                                          DATES SERVICES RENDERED


       c. List all firms or individuals who at the time of the commencement of this case were in
       possession of the books of account and records of the debtor. If any of the books of account and
       records are not available, explain.
None
  ;
       NAME                                                            ADDRESS


       d. List all financial institutions, creditors and other parties, including mercantile and trade
       agencies, to whom a financial statement was issued within the two years immediately preceding the
       commencement of this case by the debtor.
None
  ;
       NAME AND ADDRESS                                               DATE ISSUED


       20. Inventories
None
  ;
       a. List the dates of the last two inventories taken of your property, the name of the person who
       supervised the taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                          DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY               INVENTORY SUPERVISOR                                (Specify cost, market or other basis)


       b. List the name and address of the person having possession of the records of each of the two
       inventories reported in a., above.
None
  ;
                                                                      NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                              OF INVENTORY RECORDS




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        21. Current Partners, Officers, Directors and Shareholders
None
  ;
        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each
        member of the partnership.
        NAME AND ADDRESS                                         NATURE OF INTEREST                    PERCENTAGE OF INTEREST


        b. If the debtor is a corporation, list all officers and directors of the corporation, and each
        stockholder who directly or indirectly owns, controls, or holds 5 percent or more of the voting
        securities of the corporation.
None
  ;
                                                                                                       NATURE AND PERCENTAGE
        NAME AND ADDRESS                                        TITLE                                  OF STOCK OWNERSHIP




        22. Former partners, officers, directors and shareholders
None
  ;
        a. If the debtor is a partnership, list each member who withdrew from the partnership within one
        year immediately preceding the commencement of this case.
        NAME                                      ADDRESS                                                  DATE OF WITHDRAWAL




        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
        terminated within one year immediately preceding the commencement of this case.
None
  ;
        NAME AND ADDRESS                                        TITLE                                  DATE OF TERMINATION


        23. Withdrawals from a partnership or distributions by a corporation
None
  ;
        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given
        to an insider, including compensation in any form, bonuses, loans, stock redemptions, options
        exercised and any other perquisite during one year immediately preceding the commencement
        of this case.

        NAME & ADDRESS                                                                                 AMOUNT OF MONEY
        OF RECIPIENT,                                          DATE AND PURPOSE                        OR DESCRIPTION
        RELATIONSHIP TO DEBTOR                                 OF WITHDRAWAL                           AND VALUE OF PROPERTY




         24. Tax Consolidation Group.
 None
   ;
         If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
         consolidated group for tax purposes of which the debtor has been a member at any time within the six -year period
         immediately preceding the commencement of the case.



         NAME OF PARENT CORPORATION                               TAXPAYER IDENTIFICATION NUMBER




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         25. Pension Funds.
None
  ;
         If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
         debtor, as an employer, has been responsible for contributing at any time within the six-year period immediately preceding
         the commencement of the case.

         NAME OF PENSION FUND                                            TAXPAYER IDENTIFICATION NUMBER




                                                                 * * * * * *


   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

      Date 1/30/04                                           Signature    /s/ Eric Sean Epstein
                                                             of Debtor    Eric Sean Epstein


      Date 1/30/04                                           Signature    /s/ Colleen Andrea Epstein
                                                             of Joint     Colleen Andrea Epstein
                                                             Debtor




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                                                UNITED STATES BANKRUPTCY COURT
                                                    Western District of Washington
                                                               Seattle
 In re:   Eric Sean Epstein                                  Colleen Andrea Epstein                                  Case No.
          XXX-XX-XXXX                                        XXX-XX-XXXX                                             Chapter       7

                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
    1.    I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
    2.    I intend to do the following with respect to the property of the estate which secures those consumer debts:

          a.   Property To Be Surrendered.

          Description of Property                                               Creditor's Name

                 None

          b.   Property To Be Retained.                                                   [Check any applicable statement.]


                                                                                               Property will        Debt will be
Description                                                                      Property      be redeemed          reaffirmed
of                                     Creditor's                                is claimed    pursuant to          pursuant to
Property                               Name                                      as exempt     11 U.S.C. § 722      11 U.S.C. § 524(c)   Other

 1. HOME--1,544 SQ FT                  IRWIN HOME EQUITY
    RAMBLER ON .17 ACRE
 2. HOME--1,544 SQ FT                  WELLS FARGO HOME
    RAMBLER ON .17 ACRE                MORTGAGE

Date:     1/30/04                                                                             /s/ Eric Sean Epstein
                                                                                              Signature of Debtor

Date:     1/30/04                                                                             /s/ Colleen Andrea Epstein
                                                                                              Signature of Joint Debtor




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                                                        UNITED STATES BANKRUPTCY COURT
                                                           Western District of Washington
                                                                             Seattle
In re:           Eric Sean Epstein                          Colleen Andrea Epstein                                    Case No.
                 XXX-XX-XXXX                                XXX-XX-XXXX                                               Chapter         7
Debtors
                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $                  950.00
          Prior to the filing of this statement I have received                                                                  $                  950.00
          Balance Due                                                                                                            $                    0.00
2. The source of compensation paid to me was:

             ;    Debtor                                    V     Other (specify)
3. The source of compensation to be paid to me is:

                 Debtor                                         Other (specify)

4.       ;   I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      [Other provisions as needed]
             None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             ADVERSARY PROCEEDINGS; "CLEANING UP" CREDIT REPORT


                                                                        CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 1/30/04

                                                                            /s/ Renee C. Warren
                                                                            Renee C. Warren, Bar No. 16881
                                                                            SNODGRASS & WARREN INC., P.S.
                                                                            Attorney for Debtor(s)




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                                UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF WASHINGTON
                                              Seattle
                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR

Case Name:

Eric Sean Epstein
Colleen Andrea Epstein
Case No:

If you intend to file a petition under the federal Bankruptcy Code, and your debts are primarily consumer
debts, the clerk of the court is required, pursuant to 11 U.S.C. sec. 342(b), to notify you of the following
chapters under which you may file:



                                CHAPTER 7 - LIQUIDATION or
                                CHAPTER 11 - REORGANIZATION or
                                CHAPTER 13 - ADJUSTMENT OF DEBTS OF AN
                                             INDIVIDUAL WITH REGULAR INCOME

If you have any questions regarding this notice, you should consult with an attorney.



                                                     MARK L. HATCHER
                                                     Clerk of the Bankruptcy Court



                                                    ACKNOWLEDGEMENT
I certify that I have read this notice.
DATED      1/30/04                                                DEBTOR             /s/ Eric Sean Epstein


                                                                  JOINT DEBTOR /s/ Colleen Andrea Epstein




INSTRUCTIONS: If the debtor is an individual, a copy of this notice, personally signed by the debtor, must
accompany any bankruptcy petition filed with the clerk. If filed by joint debtors, the notice must be
personally signed by each.




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                                           UNITED STATES BANKRUPTCY COURT
                                              Western District of Washington
                                                         Seattle
In re:    Eric Sean Epstein                                  Colleen Andrea Epstein                  Case No. ________________________

          XXX-XX-XXXX                                         XXX-XX-XXXX                            Chapter    7

                               VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that
         the attached Master Mailing List of creditors, consisting of 2 sheet(s) is complete, correct and consistent with the
         debtor’s schedules pursuant to Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     1/30/04                                                  Signed:
                                                                                       /s/ Eric Sean Epstein
                                                                                       ____________________________________________
                   ___________________
                                                                                       Eric Sean Epstein


         Signed:
                    /s/ Renee C. Warren
                   ________________________________________________          Signed:   /s/ Colleen Andrea Epstein
                                                                                       ____________________________________________
                   Renee C. Warren                                                     Colleen Andrea Epstein
                   Bar No.         16881




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                     AMERICREDIT
                     1100 W GROVE PKWY #101
                     TEMPE AZ 85283



                     AMERICREDIT
                     P O BOX 183853
                     ARLINGTON TX 76096



                     AMERICREDIT
                     4000 EMBARCADERO
                     ARLINGTON TX 76014



                     BENEFICIAL
                     P O BOX 60101
                     CITY OF INDUSTRY        CA 91716



                     BENEFICIAL WASHINGTON
                     961 WEIGEL DRIVE
                     ELMHURST IL 60126



                     BOEING EMPLOYEES CREDIT UNION
                     P O BOX 97050
                     SEATTLE WA 98124



                     CAPITAL ONE SERVICES
                     P O BOX 85015
                     RICHMOND VA 23285



                     ECAST SETTLEMENT
                     P O BOX 35480
                     NEWARK NJ 07193-5480



                     IRWIN HOME EQUITY
                     12677 ALCOSTA BLVD #500
                     SAN RAMON CA 94583




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                     KEEHN CHIROPRACTIC CLINIC
                     505 CEDAR #C-3
                     MARYSVILLE WA 98270



                     N R S CIRCULATION
                     524 N SALINA STREET
                     SYRACUSE NY 13208



                     RICHARD HAYDEN
                     1427 W 6TH AVE
                     SPOKANE WA 99204



                     SBA
                     200 W SANTA ANA BLVD #950
                     SANTA ANA CA 92701



                     SNOHOMISH COUNTY TREASURER
                     M/S 501
                     3000 ROCKEFELLER AVE
                     EVERETT WA 98201



                     TOWN & COUNTRY FENCE
                     6410 212TH STREET SW
                     LYNNWOOD WA 98036



                     WELLS FARGO HOME MORTGAGE
                     5024 PARKWAY PLAZA BLVD
                     CHARLOTTE NC 28217



                     WELLS FARGO HOME MORTGAGE
                     P O BOX 10335
                     DES MOINES IA 50306




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